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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: VIOXX® MDL Docket No. 1657

PRODUCTS LIABILITY LITIGATION SECTION L

Judge Eldon E. Fallon
Magistrate Judge Knowles

THIS DOCUMENT RELATES TO
PLAINTIFFS LISTED IN EXHIBIT A TO
MERCK “THIRD” MOTION TO DISMISS:

Agard, et al., v. Merck & Co. [David Agard, Case No.: 2:05-ev-01089
. James Demoski]
Aljibory, et al., v. Merck & Co. [Viola Santacrose] Case No.: 2:05-cv-01090
CavaHlo, et al., v. Merck & Co. [Matthew Cavallo] Case No.: 2:05-cev-01513
Core, et al. v. Merck & Co. [Richard Core] Case No.: 2:05-ev-02583
Gates, et al., v. Merck & Co. [Scott Berthel] Case No.: 2:05-cv-06221
Connolly, et aL, v. Merck & Co. [Majorie Curtis, Case No.: 2:06-cv-02708

Kristine Hia, and Maurice Hoyt]

Kurtz v. Merck & Co. [Mary Kurtz] Case No.: 2:06-cv-05779
Dier, et al., v. Merck & Co. [Timothy Mack] Case No.: 2:05-cv-01088
Holobosky, et al., v. Merck & Co. [Ann Mannino] Case No.: 2:05-cv-01091
' DuFresne v. Merck & Co., [Frank Spencer] Case No.: 2:08-cv-03220

ORDER [PROPOSED]

Upon consideration of the motion of plaintiffs David Agard, James Demoski,
Viola Santacrose, Marilyn Core [Richard Core], Scott Berthel, Marjorie Curtis,
Kristine Hia, Maurice Hoyt, Mary Kurtz, Timothy Mack, Ann Marie Mannino, and
Lori DuFresne [Frank Spencer], by and through their counsel, the Law Office of
Ronald R. Benjamin, requesting an order recusing this Court in their cases pursuant

to 28 U.S.C. §455(a) or (b)(1), and upon consideration of the opposition, if any, of

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defendant Merck & Co., Inc., by and through its attorneys, and the Court having
reviewed the records of the above-captioned cases, finds and rules as follows:
(1) Recusal of this Court is appropriate pursuant to 28 U.S.C. §455(a), and
(2) Recusal of this Court is appropriate pursuant to 28 U.S.C. §455(b)(1),

and it is, this day of , 2009:

ORDERED, that the plaintiffs’ motion for this Court’s recusal be, and the same

hereby is, GRANTED.

HON. ELDON E. FALLON
UNITED STATES DISTRICT JUDGE

